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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Ronald R. Peterson
                              Plaintiff,
v.                                                  Case No.: 1:21−cv−01519
                                                    Honorable Martha M. Pacold

                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 4, 2022:


       MINUTE entry before the Honorable Martha M. Pacold: The parties are directed
to submit an updated joint status report for this case by 2/17/2022. (rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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